
The superior court of chancery, holden at the Capitol in the city of Richmond, the 29th June, 1814, made the following entry on its records. “The court doubting,whether the clerk thereof, whose commission bears date the first day of August, 1810, holds his office by the tenure of good behaviour, or at the •pleasure of the court, doth respectfully submit the decision of the law thereupon, to the honourable the general court.”
At a general court, held November 12th, 1814, present judges White, Carrington, Holmes, Brockenbrough, Semple, Smith, Allen, Randolph and Dade, the following entry was made. “ It is the unanimous opinion of this court, that the matter of doubt submitted by the said superior court of chancery to the decision of this court, does not come Within the intent and meaning of that section of the ‘ act reducing into one the several acts concerning the high court of chancery,’ which authorizes that court to send any matter of law ‘to the general court, for their opinion to be certified thereon,’ 32S *and that therefore this court ought not to express any opinion on the subject.”
See 1st Rev. Code, p. 64, sect. 11th.
